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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------X
JUAN IGARTUA, on behalf of himself and all others                              Case No.: 1:24-cv-06576 (JLR)
similarly situated,
                                                                               DECLARATION OF ARJETA
                                        Plaintiff,                             ALBANI, ESQ., IN SUPPORT OF
             -against-                                                         THE APPLICATION TO
                                                                               CLERK FOR CERTIFICATE OF
FRASS BOX CANNABIS LLC,                                                        DEFAULT PURSUANT TO
                                                                               LOCAL CIVIL RULE 55.1
                                         Defendants.
---------------------------------------------------------------------------X

        Arjeta Albani, Esq., being duly sworn, hereby deposes and states under penalty of perjury,

pursuant to 28 U.S.C. §1746, as follows:

        1.        I am the attorney of record for Plaintiff, Juan Igartua (“Plaintiff”). As such, I am

familiar with the facts and circumstances of the above-captioned matter. I submit this declaration

pursuant to Local Civil Rule 55.1 and Fed. R. Civ. P. 55(a) in support of Plaintiff’s Application for a

Certificate of Default (the “Application”) against Defendant, Frass Box Cannabis LLC, (“Frass Box”)

        2.        In this Application, Plaintiff asks the Clerk to enter default against Defendant, Frass

Box.

        3.        This action was commenced by filing of a Complaint on August 30, 2024 and issuance

of a Summons on September 3, 2024. See ECF No. 1 & 4.

        4.        Defendant is not an infant or incompetent person and is not in the military service

within the purview of the Soldier's and Sailor's Civil Relief Act of 1940 as amended.

        5.        On December 10, 2024, Plaintiff served Defendant, Frass Box Cannabis LLC, via

Peak Process Servers. According to the Declarant, Jeremiah Charles (“Process Server”) service was

effectuated by “delivering two true copies of the Summons in a Civil Action, Class Action Complaint

and Demand for Jury Trial at:”190 East 72nd Street, Suite 19B, New York, NY 10021,” See ECF No.

8.

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       6.      The time for Defendant Fordham to serve an answer or file a motion has since expired,

as Defendant was required to respond on or before January 2, 2025.

       7.      Since Defendants have failed to Answer or otherwise defend the above-captioned

action, they are clearly in default. As such Plaintiff request the issuance of the CLERK’S

CERTIFICATE OF DEFAULT.

       WHEREFORE, Plaintiff respectfully request that the Clerk of this Court grant Plaintiff’s

application for a Certificate of Default.

Dated: New York, New York
       February 6, 2025


                                                      JOSEPH & NORINSBERG, LLC




                                                      _________________________
                                                      Arjeta Albani, Esq.
                                                      Attorneys for Plaintiff
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